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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No.

JERRAMIE BULLOCK,

       Plaintiff,

v.

ROLF’S MOTORCYCLE SHOP, LLC

       Defendant



                                     NOTICE OF REMOVAL


       Defendant Rolf’s Motorcycle Shop, LLC (“Rolf’s”), by its undersigned attorneys,

submits this Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441 and 1446. In support

thereof, Rolf’s states as follows:

                                         BACKGROUND

       1.      On December 31, 2018, Jerramie Bullock (“Plaintiff”) filed a Complaint in the

District Court for the County of Boulder, Colorado, commencing a state court action. (See

Exhibit A, State Court Complaint.) The Complaint does not identify Plaintiff’s domicile. (Id.)

       2.      The Complaint alleges damages arising out of an accident that occurred on May

16, 2018. (Id.) Plaintiff asserts one claim for relief for premises liability. Plaintiff seeks damages

of more than $100,000 in this case. (See Exhibit B, Civil Cover Sheet.)

       3.      Plaintiff served the Complaint on Rolf’s on January 9, 2019. (See Exhibit C,

Return of Service.) Plaintiff’s counsel advised on or about March 4, 2019 that Plaintiff presently
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resides in Arizona, and counsel confirmed this in an email dated March 5, 2019. (See Exhibit D,

March 5, 2019 email from M. Crowther.)

                                 GROUNDS FOR REMOVAL

       4.      “[A]ny civil action brought in a State court of which the district courts of the

United States have original jurisdiction, may be removed by the defendant … to the district court

of the United States for the district and division embracing the place where such action is

pending.” 28 U.S.C. § 1441(a).

       5.      Under 28 U.S.C. § 1332(a)(1), the district courts have original jurisdiction as to

“all civil actions where the matter in controversy exceeds the sum or value of $75,000, exclusive

of interest and costs, and is between … citizens of different States … .”

       6.      Removal is accomplished by filing a notice of removal stating the grounds for

removal, together with a copy of all papers and orders served on defendant, which must be filed

within 30 days after the receipt by the defendant, through service or otherwise, of a copy of the

initial pleading setting forth the claim for relief upon which such action or proceeding is based

or, if the case stated by the initial pleading is not removable, within 30 days after receipt of an

other paper from which it may first be ascertained that the case is one which is removable. 28

U.S.C. § 1446(a), (b)(3).

       7.      In this case, removal is proper because this is a civil action in which there is

complete diversity of citizenship between the parties and the amount in controversy exceeds

$75,000, exclusive of interest and costs. As such, this court has original jurisdiction pursuant to

28 U.S.C. § 1332. Defendant has further complied with the requirements of 28 U.S.C. § 1446.




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        Complete Diversity Between the Parties

        8.      There is complete diversity between the parties in this action, as all parties to this

action are citizens of different states.

        9.      Plaintiff Jerramie Bullock is a citizen of the State of Arizona, as that state is

where he actually resided and was domiciled at the time of the filing of this lawsuit. (Exhibit D.)

        10.     Defendant Rolf’s is a citizen of the State of Colorado, as it is an entity organized

under the laws of the State of Colorado and has its principal places of business in Longmont,

Colorado. (Exhibit E, Colorado Secretary of State Record.) See also 28 U.S.C. § 1332(c)(1) (for

purposes of diversity, corporation is deemed to be citizen of every state by which it has been

incorporated and of the state where it has its principal place of business); Hertz Corp. v. Friend,

559 U.S. 77, 92-93 (2010) (defining place of business); Guttman v. Khalsa, 669 F.3d 1101, 1127

n.5 (10th Cir. 2012) (court may take judicial notice “of public records, including district court

filings”).

        Amount in Controversy

        11.     The amount in controversy exceeds $75,000. Plaintiff has expressly certified in

his Civil Cover Sheet (Exhibit B) that he is seeking a monetary judgment in excess of $100,000

and reasonably believes the value of his claims to exceed that amount. See Paros Prop., LLC v.

Colo. Cas. Ins. Co., 835 F.3d 1264 (10th Cir. 2016) (civil cover sheet is “other paper” from

which amount in controversy may be ascertained).

        Procedural Requirements

        12.     Defendant’s Notice of Removal is timely filed in accordance with 28 U.S.C. §

1446(b). The initial pleading filed, the Complaint, did not state a case that was removable as it



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did not state Plaintiff’s citizenship. Plaintiff’s diverse citizenship was confirmed on March 5,

2019 (Exhibit D), and this Notice of Removal is filed within 30 days of that date.

        13.        Pursuant to 28 U.S.C. § 1446(a), copies of all pleadings and other papers served

in this action are attached, including the Complaint (Exhibit A); Summons (Exhibit F), Civil

Case Cover Sheet (Exhibit B); Return of Service (Exhibit C); Unopposed Motion for Extension

of Time to Respond to Complaint and Proposed Order (Exhibit G); Order Granting Extension of

Time to Respond to Complaint (Exhibit H); Answer and Jury Demand (Exhibit I); and Pre-Trial

Order (Exhibit J). The only orders entered in the state court and/or served on Defendant are the

Order Re: Unopposed Motion for Extension of Time to Respond to Complaint (Exhibit H) and

Pre-Trial Order (Exhibit J).

        14.        Pursuant to 28 U.S.C. § 1446(d), the undersigned hereby certifies that this Notice

of Removal has been filed with the Clerk of the Court for the Boulder County District Court and

served on Plaintiff’s counsel. See Exhibit K, Notice of Filing of Notice of Removal.

        15.        Pursuant to D.C.COLO.LCIVR 81.1, a copy of the register of actions in the state

court action is attached as Exhibit L. There are no pending motions, petitions, or related

responses, replies, or briefs in the state court action, and no hearings are scheduled.

        16.        By filing this Notice of Removal, Rolf’s does not waive any defense that may be

available to it.

        WHEREAS, Defendant Rolf’s Motorcycle Shop, LLC requests that the above action now

pending against it in the Boulder County District Court be removed to this Court.

        Dated this March 18, 2019




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                                        Respectfully submitted,

                                        s/ Sophia Tsai
                                        _______________________
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was duly served this March 18,
2019, to each of the following:

Matthew A. Crowther, Esq.                                       ( )     via U.S. Mail
Jorgensen, Brownell & Pepin, P.C.                               (x)     via Electronic Mail
900 South Main Street, Suite 100                                ( )     via Facsimile
Longmont, CO 80501                                              ( )     via Overnight Mail
Counsel for Plaintiff                                           ( )     via CM/ECF System




                                              s/ Mary J. Pinkerton
                                              __________________________________




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